    Case: 1:18-cv-07420 Document #: 33 Filed: 12/20/18 Page 1 of 4 PageID #:3925



                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SEKIGUCHI CO., LTD.,

        Plaintiff,                                             Case No.: 1:18-cv-7420

   v.                                                          Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Maria Valdez
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

                NO.                                    DEFENDANT
                 35
                                                      happytradehouse
                305
                                                       sexy love 123
                252
                                                           Loong
                422
                                                      MagicFur Store
                245
                                                         littleworld
                 38
                                                        honestydeals
                103
                                                      Bizriver Retails
                483
                                              guangdongaotediantiyouxiangongsi
                 26
                                                         dean5218
                 27
                                                      deielchan.sports
                 31
                                                           fy-us
                 42
                                                         king-chan
                 55
                                                        phoenix-wo
Case: 1:18-cv-07420 Document #: 33 Filed: 12/20/18 Page 2 of 4 PageID #:3926



         68
                                             yibei1505
         70
                                              zzp.128
        108
                              Brilliant International Trading Company
        267
                             Meng Na International Trading Company
        412
                             Zhou Yifei International Trade Coporation
        474
                                      Fashion Damon House
        317
                                            sneaker bug
         46
                                           lkloveyt-zirio
         45
                                            lazycorner
        244
                                              lipingsu
        391
                                          yanlingxiaodian
        396
                                                yjili
        279
                                           orchid de dian
        278
                                             openxixi
         32
                                            girlspring88
         59
                                             shuai.hk
         61
                                          sunshinegirl678
         23
                                           buy_clothing
        326
                                          Sweet Home Z
        448
                                          Bingrong Chen
        298
                                             rrshuyao
        472
                                            Fang Hong
         12
                         YIWU RICHER FASHION COMPANY LIMITED
        494
                                          Jermahightech
        525
                                          MUSTFASHION
        295
                                             Radheka
        234
                                            La Traviata
        212
                                           In love folly
        116
                                           Cassiopeiabb
        281
                                             OscarPa

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Case: 1:18-cv-07420 Document #: 33 Filed: 12/20/18 Page 3 of 4 PageID #:3927



        138
                                           Destiny freedom
        141
                                              Dilemma
        302
                                              sea-maid
        333
                                                 Talk
        324
                                             Sunflowerss
        615
                                         Eyes in the night sky
        280
                                               Orchidss
        128
                                             COCNINE
        400
                                               Yukine
        227
                                             Kimberlyye
        616
                                              Mo Maek
        362
                                             we love liu
         82
                                             AOA Vivian
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                                             Immortals1
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                                              Bit by bit
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                                             Boper zhang
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                                             grace good
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                                           hodgepodge tee
        105
                                            boby2 liy202
         89
                                            Ba La Bala ba
        185
                                               Harvey
        345
                                            Thousands Of
        357
                                            Vincent_Store
         96
                                      Be With You forever
         94
                                               Banquet
        300
                                               rzwwom

                                     3
   Case: 1:18-cv-07420 Document #: 33 Filed: 12/20/18 Page 4 of 4 PageID #:3928



              294
                                                    Rabbit tobie
              371
                                                   Word Window
              609
                                                   wertyu999999
              195
                                                   HEXIAOFENG
              254
                                              luckygirl0719@163.com
              488
                                                    HHURONG


DATED: December 20, 2018                           Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   1033 South Blvd., Suite 200
                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 20, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




                                               4
